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       EXHIBIT




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


NA'EEM BETZ,                                  )
                                              )
        Plaintiff,                            )
                                              )
        v.                                    )       Civil Action No. 1:23-cv-01177 (UNA)
                                              )
COMCAST CABLE                                 )
COMMUNICATIONS, LLC.,                         )
                                              )
         Defendant.                           )

                                             ORDER

        This matter comes before the court on review of plaintiff’s application for leave to proceed

in forma pauperis, filed with the pro se civil complaint.

        Accordingly, it is

        ORDERED that plaintiff’s application for leave to proceed in forma pauperis, ECF No. 2,

is GRANTED, and it is further

        ORDERED that plaintiff’s motion for CM/ECF password, ECF No. 3, is GRANTED, and

it is further

        ORDERED that that the Clerk of Court shall assign this action to Chief District Judge

James E. Boasberg as related to Betz v. Synchrony Bank, No. 22-cv-02235 (JEB).

        SO ORDERED.

Date: May 1, 2023

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge


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